Case 2:05-cr-20122-SH|\/| Document 53 Filed 08/26/05 Page 1 of 2 Page|D 56

 

IN THE UNITED STATES DISTRICT COURT w BY--- _ .._M
FOR THE WESTERN DISTRICT OF TENNESSEE 05 n
wEsTERN DIvIsIoN vs 2 6 AH 6= 113
Trii}fdss M. wm
UNITED STATES OF AMERICA § :LHHL U'S' %mm mm
» ) wm 03= m mm
Plaintiff )
v. ) Case No. 05-20122
)
BRENDA COLBERT, )
)
Defendant )
)

 

ORDER

 

This case is HEREBY transferred to Judge Sarnuel Mays on consent of the parties

IT IS SO ORDERED this é§ day of August, 2005.

 
   

  

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D STATES DlSTRICT COURT

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Honorable Bernice Donald
US DISTRICT COURT

